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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                                  CRIMINAL ACTION

VERSUS                                                                                No. 03-355

JEROME VINCE                                                                   SECTION “K” (5)



                                   ORDER AND REASONS



       Before this court is Petitioner Jerome Vince (“Vince”) seeking post conviction relief

pursuant to Title 28, United States Code, Section 2255. After consideration of the record,

memoranda and applicable law, this Court finds that Vince is not entitled to such relief for the

reasons that follow.



                                       I. BACKGROUND



       On March 17, 2004, Jerome Vince, now incarcerated in the Federal Correctional

Institution in Oakdale, Louisiana, was indicted on one count of knowingly and intentionally

conspiring to distribute and possess with the intent to distribute more than five hundred grams,



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but less than five kilograms, of cocaine hydrochloride in violation of Title 21, U.S.C. Section

841(b)(1)(B) and Section 846. On March 31, 2004, Vince plead guilty to count one of the Bill of

Information. The guilty plea was part of an agreement reached between the defendant and the

United States, the terms of which were clearly enumerated. Pursuant to the plea agreement,

Vince expressly waived his right to appeal his sentence on any ground, and agreed “not to

contest his sentence in any post-conviction proceeding, including, but not limited to a proceeding

under Title 28, U.S.C. § 2255.” See Plea Agreement, at p. 2 (Rec.Doc. No. 189). The defendant

reserves the right to appeal only if a) the sentence imposed is in excess of the statutory

maximum, or b) the sentence imposed constitutes an upward departure from the guideline range

deemed most applicable by the sentencing court. Id. The defendant, through his counsel,

affirmed that all terms of the agreement were understood, and the agreement was signed by both

the defendant and his counsel.

       During the sentencing hearing, this court sentenced Vince to 97 months followed by a

supervised release period of five years. This sentence fell within the guideline range based on

his offense level computation.1 The sentence reflects a two-point enhancement Vince received

pursuant to § 2D1.1(b)(1) of the Federal Sentencing Guidelines for possession of a firearm in

furtherance of a drug related crime. During sentencing, Vince’s defense counsel objected to the

enhancement, and argued that the guns were not possessed by the defendant in connection with

the instant offense. The court overruled the objection and enhanced the sentence accordingly.



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         The guideline range for this sentence was between 78 and 97 months, with a statutory
maximum of forty years. This Court sentenced Vince at the top end of the guideline range
because he dealt in a significant amount of cocaine and because of his recidivism. See Order
Denying Motion to Make Alternative Sentence Executory, at p. 2 (Rec.Doc.No. 458).

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See Transcript of Sentencing, at p. 38-39 (Rec.Doc.No. 482).

       Vince now moves to have his sentence vacated pursuant to Section 2255. He alleges

that: 1) his petition for post conviction relief was timely;2 2) his sentence was erroneously

enhanced because firearms were found at his residence, and not the “site of charged conduct,”

See Motion to Vacate, at p. 11 (Rec.Doc.No. 486); and 3) he was subjected to ineffective

assistance of counsel because his attorney did not contest the enhancement and also failed to file

an appeal thereof.



                                         II. ANALYSIS



A.     Erroneous Enhancement of Sentence



       Vince now challenges his sentence by asserting it was erroneously enhanced for firearms

possession pursuant to Federal Sentencing Guideline § 2D1.1(b)(1), because he was not charged

with any offense relating to items found in his home. As stated above, Vince expressly waived

his right to appeal his sentence and conviction, and also waived his right to any other post-

conviction relief, including relief he now seeks under § 2255. As such, the appeal of the

enhancement is barred procedurally.

       The right to appeal a criminal conviction is statutory, not constitutional, in nature. Abney

v. United States, 431 U.S. 651, 656 (1977). Therefore, any challenge to Vince’s sentence must



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          This Court need not address whether the action was timely because petitioner’s claim
fails on both of the substantive grounds asserted.

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come in the form of a statutory direct appeal instead of under a motion for § 2255 post-

conviction relief. This statutory right, however, can be waived by the defendant as part of a plea

agreement. United States v. Melancon, 972 F.2d 566, 567 (5th Cir. 1992). Per Vince’s plea

agreement, he is only entitled to appeal if 1) his sentence exceeds the statutory maximum, and 2)

the sentence falls outside the sentencing guideline. See Plea Agreement, at p. 2 (Rec.Doc. No.

189). Vince’s sentence does not fall within either of these exceptions. As such, he is

procedurally barred from appealing his sentence.

       Assuming, arguendo, that Vince did have standing to appeal the enhancement, his claim

would fail on the merits. Pursuant to § 2D1.1 “the defendant’s sentence should be increased by

two levels whenever, in a crime involving the manufacture, import, export, trafficking, or

possession of drugs, the defendant possessed a dangerous weapon.” United States v. Cooper,

274 F.3d 230, 245 (5th Cir. 2001). The government must show by a preponderance of the

evidence that “a temporal and spatial relation existed between the weapon, the drug trafficking

activity, and the defendant.” United States v. Eastland, 989 F.2d 760, 770 (5th Cir. 1993)

(quoting United States v. Hooten, 942 F.2d 878, 882 (5th Cir. 1991)). “Generally, the

government must provide evidence that the weapon was found in the same location where drugs

or drug paraphernalia are stored or where part of the transaction occurred.” Id. Lastly, the

enhancement should be added unless “it is clearly improbable that the weapon was connected

with the offense.” United States Sentencing Guidelines, Section 2D1.1, Application Note 3.

       The defendant, in the signed Factual Basis, admitted to “two firearms, a cocaine cutting

agent, a plastic bag containing cocaine residue, a digital scale, and small amounts of marijuana”

being found in the home upon execution of a search warrant. See Factual Basis, at p. 2


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(Rec.Doc.No. 190). In addition, this Court, while conducting the sentencing hearing, heard

testimony from Special Agent Davis, the lead agent, who was present during the search of the

defendant’s home. Special Agent Davis was able to corroborate what was found in the home.

See Transcript of Sentencing, at p. 31-34 (Rec.Doc.No. 482). Based on the evidence presented

by the government, and after enumeration and analysis by the Court of the legal tests cited

above, the Court found that the appropriate relationship existed, and denied the request to

remove the enhancement. See Id. at 38-39.



B.     Ineffective Assistance of Counsel



       Petitioner claims that his counsel was ineffective both because he did not contest the

firearms enhancement and because he did not file a direct appeal of the enhancement. The

petitioner’s claim fails for several reasons.

       Although Vince did agree to waive all rights to appeal, and although such waivers are

generally valid, they “may not always apply to a collateral attack based upon ineffective

assistance of counsel.” United States v. Wilkes, 20 F.3d 651, 653 (5th Cir. 1994)(citing United

States v. Abarca, 985 F.2d 1012, 1014 (9th Cir. 1993), cert. denied, 508 U.S. 979 (1993)).

Section 2255 relief is “reserved for transgressions of constitutional rights and for a narrow range

of injuries that could not have been raised on direct appeal and would, if condoned, result in the

complete miscarriage of justice.” United States v. Gaudet, 81 F.3d 585, 589 (5th Cir.

1996)(quoting United States v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992)(per curiam). Vince’s

claim here is, indeed, constitutional in nature, and, assuming it was timely, would be properly


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filed.

         Petitioner correctly cites Strickland v. Washington, 466 U.S. 668 (1984) as the starting

point in the determination of whether defense counsel’s alleged insufficiency constituted a

violation of the defendant’s rights. Per Strickland, the defendant must be able to show that “(1)

his counsel’s actions fell below an objective standard of reasonableness, and (2) the ineffective

assistance of counsel prejudiced him.” quoting United States v. Payne, 99 F.3d 1273, 1282 (5th

Cir. 1996). A showing of prejudice requires that “[T]here is a probability that but for the

counsel’s deficiency, the defendant’s sentence would have been significantly less harsh.” United

States v. Walker, 68 F.3d 931 (5th Cir. 1996)(citing United States v. Acklen, 47 F.3d 739, 742

(5th Cir. 1995). The Payne court further declared that counsel’s conduct should be reviewed

with “great deference, strongly presuming that counsel has exercised reasonable professional

judgment.” Id. (quoting Lockhart v. McCotter, 782 F.2d 1275, 1279 (5th Cir. 1994))(internal

quotation marks omitted).

         Petitioner’s first claim of ineffectiveness due to counsel’s failure to contest the

enhancement is without merit as Vince’s defense counsel did indeed protest the enhancement for

the firearms possession during the sentencing. See Sentencing Transcript, at p. 29 (Rec.Doc.No.

482). In fact, defense counsel cross-examined the government’s witness challenging his

testimony that there existed the required nexus between the drugs and the weapons. Id. at 34-37.

As it is clear from the record that defense counsel did protest the enhancement, this portion of

the ineffectiveness claim must fail.

         The portion of the ineffectiveness claim relating to counsel’s failure to file a direct appeal

of the enhancement is also without merit. As pointed out earlier in this opinion, the defendant


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signed a plea agreement that precluded him from appealing his sentence on any ground,

excepting sentences in excess of the statutory maximum or the guideline range. The terms were

again made clear to the defendant at the conclusion of the sentencing. See Sentencing

Transcript, at p. 56-57 (Rec.Doc.No. 482). Once again, Vince’s appeal falls outside the

parameter of rights that were reserved by the plea agreement. Therefore, the Court finds that the

defense counsel’s actions were reasonable in light of the plea agreement that barred the appeal of

Petitioner’s sentence. Accordingly,



       IT IS ORDERED that Jerome Vince’s petition for post conviction relief pursuant to

Title 28, United States Code, Section 2255 be DENIED WITH PREJUDICE.



                                    28th day of February, 2007.
       New Orleans, Louisiana, this ____




                                                  STANWOOD R. DUVAL, JR.
                                             UNITED STATES DISTRICT COURT JUDGE




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